Case 1:04-cr-00005-MJT Document 132 Filed 11/29/21 Page 1 of 2 PageID #: 367




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  § CASE NO. 1:04-CR-5 (1)
v.                                                §
                                                  §
                                                  §
                                                  §
KEITH ALFRED RANDALL                              §

                    ORDER ADOPTING THE MAGISTRATE JUDGE'S
                        REPORT AND RECOMMENDATION

       The court referred a petition alleging violations of supervised release conditions to the

Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for

consideration pursuant to applicable laws and orders of this court. The court has received and

considered the Report of the United States Magistrate Judge filed pursuant to such order, along

with the record, pleadings and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn

recommended:

1.     that the court find that the Defendant violated the second and fourth allegations in the
       petition that he failed to follow standard conditions of release;

2.     revoking the Defendant’s supervised release pursuant to 18 U.S.C. § 3583; and

3.     the Defendant should be sentenced to a term of 14 months’ imprisonment, with no
       supervised release to follow. His term of imprisonment should be served at the Federal
       Correctional Institute in Beaumont, Texas, if the Bureau of Prisons can accommodate
       such request.

       At the close of the revocation hearing, the Defendant, defense counsel and counsel for

the Government each signed a standard form waiving their right to object to the proposed

findings and recommendations contained in the magistrate judge’s report, consenting to
Case 1:04-cr-00005-MJT Document 132 Filed 11/29/21 Page 2 of 2 PageID #: 368




revocation of supervised release and imposition of the sentence recommended. The Defendant

also waived his right to be present with counsel and to speak at sentencing before the court

imposes the recommended sentence.

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are

correct and the report of the magistrate judge is ADOPTED. It is therefore

       ORDERED and ADJUDGED that the petition is GRANTED and Randall’s supervised

release is REVOKED.

       Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.

                                  SIGNED this 29th day of November, 2021.




                                                               ____________________________
                                                               Michael J. Truncale
                                                               United States District Judge




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